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                               EXHIBIT K
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Voyager Digital Provides Market
Update




NEWS PROVIDED BY
Voyager Digital Ltd. 
Jul 01, 2022, 14:45 ET




NEW YORK, July 1, 2022 /PRNewswire/ - Voyager Digital LLC, the operating platform of
Voyager Digital Ltd. ("Voyager" or the "Company") (TSX: VOYG) (OTCQX: VYGVF) (FRA: UCD2),
announced it is temporarily suspending trading, deposits, withdrawals and loyalty rewards,
effective at 2:00 p.m. Eastern Daylight Time today.



"This was a tremendously difficult decision, but we believe it is the right one given current
market conditions," said Stephen Ehrlich, Chief Executive Officer of Voyager. "This decision
gives us additional time to continue exploring strategic alternatives with various interested
parties while preserving the value of the Voyager platform we have built together. We will
provide additional information at the appropriate time."


Voyager previously announced that its subsidiary, Voyager Digital LLC, issued a notice of
default to Three Arrows Capital ("3AC") for failure to make the required payments on its
previously disclosed loan of 15,250 BTC and $350 million USDC. Voyager is actively pursuing
all available remedies for recovery from 3AC, including through the court-ordered
liquidation process in the British Virgin Islands.




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Company and The Consello Group as financial advisors, and Kirkland & Ellis LLP as legal
advisors.


Voyager also provided the following financial and balance sheet updates, per requirements
of Canadian Securities Laws. All figures are preliminary, non-reviewed and unaudited and
subject to final adjustments following completion of quarterly and year-end close
procedures.


                                                               June 30, 2022

 Crypto assets held (in thousands)                            $       685,373
 Crypto assets loaned (in thousands)                          $     1,124,825     A
 Cash held for customers (in thousands)                       $       355,725
 Crypto collateral received/ held (in thousands)              $       168,685




Note A: The balance includes $350 million of USDC and 15,250 BTC loaned to Three Arrows
Capital.



As of June 30, 2022, crypto assets loaned consisted of the following (in thousands, except for
number of coins):


 June 30, 2022           Number of Coins               Fair Value               Fair Value Share

 BTC                              21,796           $        434,779                        39 %    B
 USDC                        401,762,866                    401,763                        36 %    C
 ETH                             170,336                    182,160                        16 %
 Other                                                      106,123                         9%

 Total                                             $      1,124,825                       100 %




Note B: Includes 15,250 BTC loaned to Three Arrows Capital.


Note C: Includes $350 million USDC loaned to Three Arrows Capital.


As of June 30, 2022, crypto assets loaned disaggregated by significant borrowing
counterparty was as follows (in thousands) (refer to prior filings for comparative information):




                                                                                                       
 June 30,22-10943-mew
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 Counterparty A                 1% - 11.5%           $        376,784
 Counterparty B                   3% - 10%                    654,195
 Counterparty C                 4% - 13.5%                     17,556
 Counterparty D                   1% - 14%                     27,342
 Counterparty E                   1% - 30%                     34,427
 Counterparty F                             0%                         -
 Counterparty G                      10.0 %                    13,770
 Other                              4% - 8%                        751

 Total                                               $      1,124,825




As of June 30, 2022, crypto assets loaned balances were concentrated with counterparties
as follows (refer to prior filings for comparative information):


                        Geography                June 30, 2022

 Counterparty A    British Virgin Islands        $       376,784
 Counterparty B              Singapore                   654,195   D
 Counterparty C           United States                   17,556
 Counterparty D         United Kingdom                    27,342
 Counterparty E                 Canada                    34,427
 Counterparty F           United States                        -
 Counterparty G           United States                   13,770
 Other                          Various                     751

 Total                                           $   1,124,825




Note D: Represents amount loaned to Three Arrows Capital.


About Voyager Digital Ltd.



Voyager Digital Ltd.'s (TSX: VOYG) (OTCQX: VYGVF) (FRA: UCD2) US subsidiary, Voyager
Digital, LLC, is a cryptocurrency platform in the United States founded in 2018 to bring
choice, transparency, and cost-efficiency to the marketplace. Voyager offers a secure way to
trade over 100 different crypto assets using its easy-to-use mobile application. Through its
subsidiary Coinify ApS, Voyager provides crypto payment solutions for both consumers and
merchants around the globe. To learn more about the company, please
visit https://www.investvoyager.com.



Forward Looking Statements




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        information in Doc
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                             press release,  including,Entered
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                                                                        to, statements     Ex.
                                     K to Levitt Aff. Pg 5 of 7
the exploration of strategic alternatives, discussions with third parties in respect of strategic
alternatives and the results of those discussions, the temporary nature of the suspension of
the platform, future growth and performance of the business, the exploration of strategic
alternatives, future adoption of digital assets, anticipated trends and challenges in our
business and industry, the regulation of digital assets offerings, the availability of the credit
agreement, the impact of the 3AC default on the Company, including its ability to utilized
the credit agreement, the Company's liquidity and ability to satisfy customer orders and
withdrawals and the Company's anticipated results may constitute forward looking
information (collectively, forward-looking statements), which can be identified by the use of
terms such as "may," "will," "should," "expect," "anticipate," "project," "estimate," "intend,"
"continue" or "believe" (or the negatives) or other similar variations. Forward-looking
statements involve known and unknown risks, uncertainties and other factors that may
cause Voyager's actual results, performance or achievements to be materially different from
any of its future results, performance or achievements expressed or implied by forward-
looking statements. Moreover, we operate in a very competitive and rapidly changing
environment. New risks emerge from time to time. It is not possible for our management to
predict all risks, nor can we assess the impact of all factors on our business or the extent to
which any factor, or combination of factors, may cause actual results to differ materially
from those contained in any forward-looking statements we may make. In light of these
risks, uncertainties, and assumptions, the future events and trends discussed in this press
release may not occur and actual results could differ materially and adversely from those
anticipated or implied in the forward-looking statements. It is uncertain what amount
Voyager will be able to recover from 3AC for non-payment and whether the default of 3AC
will constitute a default under its credit agreement or the legal remedies available to
Voyager in connection with such non-payment or the impact on the future business, cash
flows, liquidity and prospects of Voyager as a result of 3AC's non-payment. Forward looking
statements are subject to the risk that the global economy, industry, or the Company's
businesses and investments do not perform as anticipated, that revenue or expenses
estimates may not be met or may be materially less or more than those anticipated, that
parties to whom the Company lends assets are able to repay such loans in full and in a
timely manner, that trading momentum does not continue or the demand for trading
solutions declines, customer acquisition does not increase as planned, product and
international expansion do not occur as planned, risks of compliance with laws and
regulations that currently apply or become applicable to the business and those other risks
contained in the Company's public filings, including in its Management Discussion and
Analysis and its Annual Information Form (AIF). Factors that could cause actual results of the
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Company               Doc 161-12
          and its businesses        Filed
                             to differ    07/28/22from
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                                    K to Levitt Aff. Pg 6 of 7
looking statements include, but are not limited to, the results from the exploration of
strategic alternatives, the inability to resume trading, deposits, withdrawals and rewards on
the platform in a timely manner, an inability to drawdown under the credit facility or access
other sources of financing, an increase in customer demands for withdrawals from the
platform, any insolvency or similar proceedings with respect to 3AC, our ability to find a
strategic alternative, a decline in the digital asset market or general economic conditions;
changes in laws or approaches to regulation, the failure or delay in the adoption of digital
assets and the blockchain ecosystem by institutions; changes in the volatility of crypto
currency, changes in demand for Bitcoin and Ethereum, changes in the status or
classification of cryptocurrency assets, cybersecurity breaches, a delay or failure in
developing infrastructure for the trading businesses or achieving mandates and gaining
traction; failure to grow assets under management, an adverse development with respect to
an issuer or party to the transaction or failure to obtain a required regulatory approval.
Readers are cautioned that Assets on Platform and trading volumes fluctuate and may
increase and decrease from time to time and that such fluctuations are beyond the
Company's control. Forward-looking statements, past and present performance and trends
are not guarantees of future performance, accordingly, you should not put undue reliance
on forward-looking statements, current or past performance, or current or past trends.
Information identifying assumptions, risks, and uncertainties relating to the Company are
contained in its filings with the Canadian securities regulators available at www.sedar.com.
The forward-looking statements in this press release are applicable only as of the date of this
release or as of the date specified in the relevant forward-looking statement and the
Company undertakes no obligation to update any forward-looking statement to reflect
events or circumstances after that date or to reflect the occurrence of unanticipated events,
except as required by law. The Company assumes no obligation to provide operational
updates, except as required by law. If the Company does update one or more forward-
looking statements, no inference should be drawn that it will make additional updates with
respect to those or other forward-looking statements, unless required by law. Readers are
cautioned that past performance is not indicative of future performance. There is no
assurance that the funds available under the loan agreement will be available or, even if
available will, together with any other assets of Voyager be sufficient to safeguard assets.



The TSX has not approved or disapproved of the information contained herein.


Press Contacts
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Voyager Public Relations Team
pr@investvoyager.com


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